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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA                      )
                                              )
v.                                            )      Docket No. 1:23-CR-10005-DJC
                                              )
XIAOLEI WU                                    )


          ASSENTED TO MOTION TO MODIFY CONDITIONS OF RELEASE
                    TO TEMPORARILY RETURN PASSPORT

       Mr. Xiaolei Wu, defendant in the above-captioned matter, respectfully moves this Court

to modify his conditions of release to temporarily return his passport to him for a period of 24

hours. As grounds, Mr. Wu’s Massachusetts Driver’s License is approaching its expiration and

Mr .Wu will need to present valid proof of identification to the Registry of Motor Vehicles in

order to renew it. Mr. Wu’s only source of proof is his passport. Mr. Wu has scheduled an

appointment for 2:30 p.m. on May 24th with the RMV. If this motion is allowed, and attorney

from Hedges & Tumposky, would retrieve Mr. Wu’s passport from US Probation, accompany

Mr. Wu to the RMV so that he might renew his license – only releasing the passport into Mr.

Wu’s custody during the period when they are in the RMV offices – and counsel would then

return the passport the same afternoon. At all times that Mr. Wu was in possession of his

passport, he would be personally accompanied and observed by counsel.

       Counsel has discussed this motion with Probation, who has indicated they do not oppose

the temporary modification. The Government has indicated that it will not oppose this motion if

the passport is released to counsel, and counsel accompanies Mr. Wu to his appointment.
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                                                     Respectfully Submitted,
                                                     Xiaolei Wu
                                                     By his attorney,

                                                     /s/ Jessica Hedges
                                                     Jessica D. Hedges
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                                                     617-722-8220



                                CERTIFICATE OF SERVICE

       I, Jessica Hedges, hereby certify that, on this May 19th, 2023, I served a true copy of the
above document on all counsel of record through the electronic case filing system.

                                                             /s/ Jessica Hedges
                                                             Jessica Hedges
